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   Attorney for:
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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                               CASE NO. 12-CR-000169 MCE
12                                  Plaintiff,               STIPULATION VACATING TRIAL
                                                             CONFIRMATION HEARING AND
13   v.                                                      JURY TRIAL DATE; ORDER
14   LATROY CUNNINGHAM,
15                                  Defendant,
16
17                                               STIPULATION
18           Plaintiff, United States of America, by and through its counsel of record, and defendant
19
     LATROY CUNNINGHAM, by and through his counsel of record, hereby stipulate as follows:
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             1.       By previous order, the defendants in this matter were divided into two groups for the
21
     purpose of conducting separate jury trials. (ECF Minute Order 198.) The first group set for jury
22
23 trial set dates of May 1, 2014, for the trial confirmation hearing, and June 2, 1014, for the jury trial.
24 (ECF Minute Order 198.) Defendant CUNNINGHAM was not placed in this first trial group; rather,
25 defendant CUNNINGHAM is in the second trial group whose jury trial is to commence on a date yet
26 to be established. (ECF Minute Order 198.) However, no separate status date was set for the
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     defendants in the second trial group and therefore their next court is May 1, 2014 – the same date as
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     the trial confirmation hearing for the first trial group.
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             2.       By previous order, this matter was set for a hearing on June 26, 2014, to determine
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 3 defendant CUNNINGHAM’s competency to stand trial. (ECF Minute Order 229.) In addition, this
 4 Court ordered defendant CUNNINGHAM committed to the custody of the Attorney General for a
 5 psychiatric or psychological examination pursuant to 18 U.S.C. § 4241(b); however that order has
 6
     been stayed until April 28, 2014. (ECF Minute Order 231.)
 7
             3.       Due to defendant CUNNINGHAM’S pending commitment for a psychiatric or
 8
     psychological examination, the parties stipulate that defendant CUNNINGHAM’S pending status
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10 conference of May 1, 2014, as part of trial group two, may be vacated.
11           4.       The parties acknowledge that ECF Minute Order 209 indicates that the trial

12 confirmation date (May 1, 2014) and jury trial date (June 2, 2014) of trial group one were confirmed
13 for defendant CUNNINGHAM. It was neither parties intent to place defendant CUNNINGHAM in
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     group one, but rather to acknowledge that those were the two court dates pending in this matter. To
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     the extent that those court dates are pending for defendant CUNNINGHAM, the undersigned parties
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     stipulate that they may be vacated.
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18           5.       At defendant CUNNINGHAM’S pending hearing on June 26, 2014, the parties will

19 address defendant CUNNINGHAM’S next court date to be set thereafter.
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     ///              (THIS SPACE IS INTENTIONALLY LEFT BLANK)
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            6.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 1
     seq., within which trial must commence, the time period of April 10, 2014, to June 26, 2014,
 2
 3 inclusive, has already been deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local
 4 Codes E and T4] because it results from a continuance granted by the Court at defendant’s request
 5 on the basis of a pending motion and the Court's finding that the ends of justice served by taking
 6
     such action outweigh the best interest of the public and the defendant in a speedy trial. This
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     exclusion of time was previously ordered by this Court at the hearing of April 10, 2014.
 8
     IT IS SO STIPULATED.
 9
10 DATED:            April 17, 2014        /s/ Jason Hitt
                                           JASON HITT
11                                         Assistant United States Attorney
12
     DATED:          April 17, 2014        /s/ Scott Cameron
13                                         SCOTT N. CAMERON
                                           Counsel for LATROY CUNNINGHAM
14
15
                                                    ORDER
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17          IT IS SO FOUND AND ORDERED.
18 Dated: April 22, 2014

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